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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT



MICHAEL D. KNIGHT,

      Plaintiff,

v.                                                 Civil Action No. 3:16-cv-00910-AVC

ALLY BANK, ET AL.,

      Defendants.



                          DEFENDANTS’ MOTION TO DISMISS

       Pursuant to D. Conn. L. Civ. R. 7(a) and Fed R. Civ. P. 12 (b)(6), defendants Ally Bank,

Ally Financial, Inc., Ally Auto Assets, LLC and Deutsche Bank Trust Company Americas as

Trustee for the Ally Auto Receivables Trust 2015-2, respectfully move the Court for an Order

dismissing plaintiff’s Complaint in its entirety, with prejudice. The reasons for Defendants’

motion to dismiss are set forth in detail in the accompanying memorandum of law. In brief,

plaintiff Michael Knight’s complaint avers that Mr. Knight purchased a car on credit from Ally

Bank but is no longer responsible for the debt because the account was securitized, thereby

relieving Mr. Knight of his contractual obligations. This theory, while somewhat novel in the

automobile financing context, has been roundly rejected in the residential mortgage loan context.

The simple fact of the matter is that even if Mr. Knight’s account was securitized (which it was

not), the securitization had no impact on his contractual obligations and certainly did not give

rise to any actionable claims. Accordingly, and as discussed in the accompanying memorandum

of law, the motion to dismiss should be granted.




ORAL ARGUMENT NOT REQUESTED
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       WHEREFORE, Defendants respectfully move for an Order dismissing the complaint for

failure to state a claim upon which relief may be granted.




                                             Respectfully submitted,

                                             Defendants
                                             ALLY BANK, ALLY FINANCIAL, INC., ALLY
                                             AUTO ASSETS, LLC AND DEUTSCHE BANK
                                             TRUST COMPANY AMERICAS AS TRUSTEE
                                             FOR THE ALLY AUTO RECEIVABLES TRUST
                                             2015-2
                                             By their attorneys,


                                             /s/ Michael T. Grant______________________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF System will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and sent to all non-registered participants via email on September 16, 2016.


                                                             /s/ Michael T. Grant




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